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SOUTHERN DISTRICT OF NE§WE¥QRK&…F en w d g _ ;

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EXCHANGE CoMMISSION z _`» W;T¢,»,:j§,_t-; ;;;'
Piainriff, t
vs. No. 1:18-cv-8865-AJN-GWG
ELoN MUSK v
Defendant.

 

CONSENT MO'I`ION FOR ENTRY OF FINAL JUDGMENT

Plaintiff United States Securities and Exchange Commission (the “Commission”)
respectfully submits this consent motion to enter final judgment according to the parties’
settlement In support of this motion, the Commission states the fcllovving:

l. On September 27, 2018, the Commission filed a Complaint against Defendant
Musl< alleging violations of the federal securities laWs.

2. The parties have reached a settlement agreement in this case. Attached hereto as
Exhihit l is the executed Consent of Defendant Elon l\/lusl<, setting forth the terms of his
settlement With the Commission.

3. Attached hereto as Exhibit 2 is the proposed Final Judgment to Which Defendant
l\/[usl< agreed. The proposed Final Judgment Would permanently enjoin him from violating
Section lO(b) of the Securities Exchange Act of 1934 and Rule lOb-S. lt Would also order him to
pay a penalty of $20,000,000 and to comply With the undertakings detailed in the Final

Judgment.

 

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The Commission respectfully requests that the Court enter the proposed Final Judgment

attached hereto as Exhibit 2.

Dated: September 29, 2018

Respectfully suhmitted,

/S_/lilw_L._C_M_.._
l ina L. Choi

Cheryl L. Cmmpton*
E. Barrett Atwood*

*l\/Iotion to appear pro hac vice pending

U.S. Securities and Exchange Commission
100 F Street, N.E.

Washington, D.C. 20549

(202) 55l-4459 (Crumpton)

44 Montgomery Street, Suite 2800
San Francisco, CA 94104
(4l5) 705-2467 (Atwood)

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES SECURITIES AND
EXCHANGE COMMISSION

Plaintiff,
vs. : No. 1:18-cv-8865-AJN-GWG
ELON MUSK,

Defendant.

 

CONSENT OF DEFENDANT ELON lVIUSK

l. Defendant Elon Musk (“Defendant”) Waives service of a summons and the
complaint in this action, enters a general appearance, and admits the Court’s jurisdiction over
Defendant in this action only and over the subject matter of this action.

2. Without admitting or denying the allegations of the complaint (except as provided
herein in paragraph l3 and except as to personal jurisdiction as to this matter only and subject
matter jurisdiction, Which Defendant admits), Defendant hereby consents to the entry of the final
Judgment in the form attached hereto (the “Final Judgment”) and incorporated by reference

herein, Which, among other things:

(a) permanently restrains and enjoins Defendant from violation of Section
lO(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) []5
US.C. § 78j(b)] and Rule 10b-5 thereunder []7 C.F.R. § 240.]0b-5];

(b) orders Defendant to pay a civil penalty in the amount of 320,000,000
under Section 21(d)(3) ofthe Exchange Act [15 US. C. § 78u(d) (3)]; and

(c) requires Defendant to comply With the undertaking set forth in this
Consent and incorporated in the Final ludgment.

3. Defendant acknowledges that the civil penalty paid pursuant to the Final

 

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Judgment may be distributed pursuant to the Fair Fund provisions of Section 308(a) of the
Sarbanes-Oxley Act of 2002, as amended Regardless of whether any such Fair Fund
distribution is made, the civil penalty shall be treated as a penalty paid to the government for all
purposes, including all tax purposes To preserve the deterrent effect of the civil penalty argue
that he is entitled to, nor shall he further benefit by, offset or reduction of any award of
compensatory damages in any Related Investor Action by the amount of any part of Defendant’s
payment of a civil penalty in this action (“Penalty Offset”). If the court in any Related Investor
Action grants such a Penalty foset, Defendant agrees that he shall, within 30 days after entry of
a final order granting the Penalty Offset, notify the Commission’s counsel in this action and pay
the amount of the Penalty Offset to the United States Treasury or to a Fair Fund, as the
Commission directs Such a payment shall not be deemed an additional civil penalty and shall
not be deemed to change the amount of the civil penalty imposed in this action For purposes of
this paragraph, a “Related Investor Action” means a private damages action brought against
Defendant by or on behalf of one or more investors based on substantially the same facts as
alleged in the Complaint in this action.

4. Defendant agrees that he Shall not seek or accept, directly or indirectly,
reimbursement or indemnification from any source, including but not limited to payment made
pursuant to any insurance policy, with regard to any civil penalty amounts that Defendant pays
pursuant to the Final Judgment, regardless of whether such penalty amounts or any part thereof
are added to a distribution fund or otherwise used for the benefit of investors Defendant further
agrees that he shall not claim, assert, or apply for a tax deduction or tax credit with regard to any
federal, state, or local tax for any penalty amounts that Defendant pays pursuant to the Final
Judgment, regardless of whether such penalty amounts or any part thereof are added to a
distribution fund or otherwise used for the benefit of investors

5. Defendant undertakes to:

(a) resign from his role as Chairman of the Board of Directors of Tesla, lnc.

(“Chairman”) within forty-five (45) days of the filing of this Consent and

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agree not to seek reelection or to accept an appointment as Chairman for a
period of three years thereafter. Upon request by Defendant, the
Commission staff may grant in its sole discretion an extension to the
deadline set forth above;

(b) comply with all mandatory procedures implemented by Tesla, Inc. (the
“Company”) regarding (i) the oversight of communications relating to the
Company made in any format, including, but not limited to, posts on
social media (e.g., Twitter), the Company’s website (e.g., the Company’s
blog), press releases7 and investor calls, and (ii) the pre-approval of any
such written communications that contain, or reasonably could contain,
information material to the Company or its shareholders', and

(c) certify, in Writing, compliance with undertaking (a) set forth above. The
certification shall identify the undertaking, provide written evidence of
compliance in the form of a narrative, and be supported by exhibits
sufficient to demonstrate compliance The Commission staff may make
reasonable requests for further evidence of compliance,~ and Defendant
agrees to provide such evidence Defendant shall submit the certification
and supporting material to Steven Buchholz, Assistant Regional Director,
U.S. Securities and Exchange Commission, 44 Montgomery Street, 28th
Floor, San Francisco, CA 94104, with a copy to the Office of Chief
Counsel of the Enforcement Division, 100 F Street NE, Washington, DC
20549, no later than fourteen (14) days from the date of the completion of
the undertaking

6. Defendant waives the entry of findings of fact and conclusions of law pursuant to
Rule 52 of the F ederal Rules of Civil Procedure.
7. Defendant waives the right, if any, to a jury trial and to appeal from the entry of

the Final Judgment.

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8. Defendant enters into this Consent voluntarily and represents that no threats,
offers, promises, or inducements of any kind have been made by the Commission or any
member, officer, employee, agent, or representative of the Commission to induce Defendant to
enter into this Consent.

9. Defendant agrees that this Consent shall be incorporated into the Final Judgment
with the same force and effect as if fully set forth therein.

10. Defendant will not oppose the enforcement of the Final Judgment on the ground,
if any exists, of lack of compliance with Rule 65(d) of the Federal Rules of Civil Procedure, and
hereby waives any objection based thereon.

ll. Defendant Waives service of the Final Judgment and agrees that entry of the Final
Judgment by the Court and filing with the Clerk of the Court will constitute notice to Defendant
of its terms and conditions Defendant further agrees to provide counsel for the Commission,
within thirty days after the Final Judgment is filed with the Clerk of the Court, with an affidavit
or declaration stating that Defendant has received and read a copy of the Final Judgment.

12. Consistent with 17 C.F.R. § 202.5(f), this Consent resolves only the claims
asserted against Defendant in this civil proceeding Defendant acknowledges that no promise or
representation has been made by the Commission or any member, officer, employee, agent, or
representative of the Commission with regard to any criminal liability that may have arisen or
may arise from the facts underlying this action or immunity from any such criminal liability.
Defendant waives any claim of Double leopardy based upon the settlement of this proceeding,
including the imposition of any remedy or civil penalty herein. Defendant further acknowledges
that the Court’s entry of a permanent injunction may have collateral consequences under federal
or state law and the rules and regulations of self-regulatory organizations licensing boards, and
other regulatory organizations Such collateral consequences include, but are not limited to, a
statutory disqualification with respect to membership or participation in, or association With a
member of, a self-regulatory organization This statutory disqualification has consequences that

are separate from any sanction imposed in an administrative proceeding ln addition, in any

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disciplinary proceeding before the Commission based on the entry of the injunction in this
action, Defendant understands that he shall not be permitted to contest the factual allegations of
the complaint in this action.

13. Defendant understands and agrees to comply with the terms of 17 C.F.R. §
202.5(e), which provides in part that it is the Commission’s policy “not to permit a defendant or
respondent to consent to a judgment or order that imposes a sanction while denying the
allegations in the complaint or order for proceedings,” and “a refusal to admit the allegations is
equivalent to a denial, unless the defendant or respondent states that he neither admits nor denies
the allegations” As part of Defendant’s agreement to comply with the terms of Section 202.5(e),
Defendant: (i) will not take any action or make or permit to be made any public statement
denying, directly or indirectly, any allegation in the complaint or creating the impression that the
complaint is without factual basis; (ii) will not make or permit to be made any public statement
to the effect that Defendant does not admit the allegations of the complairit, or that this Consent
contains no admission of the allegations, without also stating that Defendant does not deny the
allegations; (iii) upon the filing of this Consent, Defendant hereby withdraws any papers filed in
this action to the extent that they deny any allegation in the complaint; and (iv) stipulates solely
for purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy Code []]

U.S. C. § 523] that the allegations in the complaint are tiue, and further, that any debt for
disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under the
Final Judgment or any other judgment, order, consent order, decree or settlement agreement
entered in connection with this proceeding, is a debt for the violation by Defendant of the federal
securities laws or any regulation or order issued under such laws, as set forth in Section
523(a)(19) of the Bankruptcy Code []] U.S.C. § 523(a) (19)]. If Defendant breaches this
agreement, the Commission may petition the Court to vacate the Final Judgment and restore this
action to its active docket. Nothing in this paragraph affects Defendant’s: (i) testimonial
obligations; or (ii) right to take legal or factual positions in litigation or other legal proceedings

in which the Commission is not a party.

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l4. Defendant hereby waives any rights under the liqual Access to Justice Act, the
Sniall Business f\’egulaiory ljnforcement Fairness Act of 1996, or any other provision of law to
Seek from the l,lnited States or any agcncy, or any official of the United States acting in his or
her official capacity, directly or indirectly, reimbi.irsernent of attorney"s fees or other fees,
expenses or costs expended by Defendant to defend against this action h`or these purposes
Defendant agrees that Defendant is not the prevailing party in this action since the parties have
reached a good faith settleirient.

15. Defendant agrees that the Coniniission may present the final .ludgment to the
Court for signature and entry without further notice

l(i. l')el`cndant agrees that this Court shall retain jurisdiction over this matter for the

purpose of en forcing the terms of the l"inal ludgrnent.

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Dated: £:>QM@-\;Qvgrtj{,@ W}¥f; ,. 2018 §// W,, // jj J/L///

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t)n (;) :§~j, gm judd 2018, §1_ gill _l`_’li,}s J;\W__ a person known to met

personally appeared before me and acknowledged executing the foregoing Consent

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Steven Mi Farina
Williarns & Connolly Ll.t’
725 l"tvcltih Street N.W,
Washington, DC 20005

Attorncy for Defendant

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A notary public or other officer completing this
certificate vendee only the identity of the individual Who
Signed the document to which this certificate is
attachedl and not the truthfulness, accuracy or validity
of that document

 

 

STATE OF CALIFORNIA )
) SS.
COUNTY OF ALAMEDA )

Subscribed and Sworn to (or at`firmed) before me on this 28th day of September 20l 8j by Eion
Musk, proved to me on thc basis of satisfactory evidence to bettie person(o) who appeared

before me.

 
     
 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES SECURIT!ES AND
EXCHANGE COMMISSION

Plaintiff,
vs. : No. 1:18-cv-8865-AJN-GWG
ELON MUSK,

Defendant.

 

FINAL JUDGMENT AS TO DEFENDANT ELON MUSK

The Securities and Exchange Commission having filed a Complaint and Defendant Elon
l\/Iusk having entered a general appearance; consented to the Court’S jurisdiction over Defendant
in this matter only and the subject matter of this action; consented to entry of this Final Judgment
Without admitting or denying the allegations of the Complaint (eXcept as to jurisdiction and
except as otherwise provided herein in paragraph IH); Waived findings of fact and conclusions of
law; and Waived any right to appeal from this Final Judgment:

I.

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is
permanently restrained and enjoined from violating, directly or indirectly, Section lO(b) of the
Securities Exchange Act of1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5
promulgated thereunder [1 7 C.F.R. § 240. 1 013-5 ] , by using any means or instrumentality of
interstate coinmerce, or of the mails, or of any facility of any national securities exchange, in
connection With the purchase or sale of any security:

(a) to employ any device, scheme, or artifice to defraud;
(b) to make any untrue statement of a material fact or to omit to state a

material fact necessary in order to make the statements made, in the light

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of the circumstances under which they were made, not misleading; or
(c) to engage in any act, practice, or course of business which operates or
would operate as a fraud or deceit upon any person.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in
F ederal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who
receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s
agents, servants, employees, and attorneys; and (b) other persons in active concert or
participation with Defendant or with anyone described in (a).

II.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant shall pay a
civil penalty in the amount of $20,000,000 to the Securities and Exchange Commission pursuant
to Section 2l(d)(3) of the EXchange Act []5 U.S. C. § 781¢(¢1)(3)]. Defendant shall make this
payment within 14 days after entry of this Final Judgment.

Defendant may transmit payment electronically to the Commission, which will provide
detailed ACH transfer/Fedwire instructions upon request Payment may also be made directly
from a bank account via Pay. gov through the SEC website at
http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check, bank
cashier’s check, or United States postal money order payable to the Securities and Exchange

Commission, which shall be delivered or mailed to

Enterprise Services Center
Accounts Receivable Branch

65 00 South l\/lacArthur Boulevard
Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number, and name of
this Court; Elon Musk as a defendant in this action; and specifying that payment is made
pursuant to this Final Judgment.

Defendant shall simultaneously transmit photocopies of evidence of payment and case

identifying information to the Commission’s counsel in this action. By making this payment,

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Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part
of the hinds shall be returned to Defendant

Defendant shall pay post judgment interest on any delinquent amounts pursuant to 28
U.S.C. § 1961. The Commission shall hold the funds, together with any interest and income
earned thereon (collectively, the “Fund”), pending further order of the Court.

The Commission may propose a plan to distribute the Fund subject to the Court’s
approval Such a plan may provide that the Fund shall be distributed pursuant to the Fair Fund
provisions of Section 308(a) of the Sarbanes-Oxley Act of 2002, as amended The Court shall
retain jurisdiction over the administration of any distribution of the Fund, If the Commission
staff determines that the Fund will not be distributed, the Commission shall send the funds paid
pursuant to this Final Judgment to the United States Treasury.

Regardless of whether any such Fair Fund distribution is made, amounts ordered to be
paid as civil penalties pursuant to this Judgment shall be treated as penalties paid to the
government for all purposes, including all tax purposes To preserve the deterrent effect of the
civil penalty, Defendant shall not argue that he is entitled to, nor shall he further benefit by offset
or reduction of any award of compensatory damages in any Related Investor Action by the
amount of any part of Defendant’s payment of a civil penalty in this action (“Penalty Offset”). lf
the court in any Related lnvestor Action grants such a Penalty Offset, Defendant shall, within 30
days after entry of a final order granting the Penalty Offset, notify the Commission’s counsel in
this action and pay the amount of the Penalty Offset to the United States Treasury or to a F air
Fund, as the Commission directs. Such a payment shall not be deemed an additional civil
penalty and shall not be deemed to change the amount of the civil penalty imposed in this
Judgment. For purposes of this paragraph, a “Related lnvestor Action” means a private damages
action brought against Defendant by or on behalf of one or more investors based on substantially
the same facts as alleged in the Complaint in this action.

III.
IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for purposes of

 

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exceptions to discharge set forth in Section 523 of the Bankruptcy Code []] U.S. C. § 523] the
allegations in the complaint are true and admitted by Defendant, and further, any debt for
disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under this
Final Judgment or any other judgment, order, consent order, decree or settlement agreement
entered in connection with this proceeding, is a debt for the violation by Defendant of the federal .
securities laws or any regulation or order issued under such laws, as set forth in Section
523(a)(l9) of the Bankruptcy Code [I] U.S. C. § 523(a)(19)]. Nothing in this paragraph (a)
constitutes an admission by Defendant for any purpose other than determining the applicability
of Section 523(a)(19) or (b) affects Defendant’s (i) testimonial obligations; or (ii) right to take
any legal or factual positions in litigation or other legal proceedings in which the Commission is
not a party.
IV,
lT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is
incorporated herein with the same force and effect as if fully set forth herein, and that Defendant
shall comply with all of the undertakings set forth therein, including, but not limited to, the
undertakings to:
(a) resign from his role as Chairman of the Board of Directors of Tesla, Inc.

(“Chairman”) within forty-five (45) days of the filing of this Consent and

agree not to seek reelection or to accept an appointment as Chairman for a

period of three years thereafter. Upon request by Defendant, the

Commission staff may grant in its sole discretion an extension to the

deadline set forth above;

(b) comply with all mandatory procedures implemented by Tesla, Inc. (the

“Company”) regarding (i) the oversight of communications relating to the

Company made in any forinat, including, but not limited to, posts on

social media (e.g., Twitter), the Company’s website (e.g., the Compariy’s

blog), press releases, and investor calls, and (ii) the pre-approval of any

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such written communications that contain, or reasonably could contain,
information material to the Company or its shareholders; and
(c) certify, in writing, compliance with undertaking (a) set forth above. The
certification shall identify the undertaking, provide written evidence of
compliance in the form of a narrative, and be supported by exhibits
sufficient to demonstrate compliance The Commission staff may make
reasonable requests for further evidence of compliance, and Defendant
agrees to provide such evidence Defendant shall submit the certification
and supporting material to Steven Buchholz, Assistant Regional Director,
U.S. Securities and Exchange Conimission, 44 Montgomeiy Street, 28th
Floor, San Francisco, CA 94104, with a copy to the Office of Chief
Counsel of the Enforcement Division, 100 F Street NE, Washington, DC
20549, no later than fourteen (14) days from the date of the completion of
the undertaking
V.
IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.

       

 

 

Dated: §§ §§`Y$ §§ g
§ § Hon. l;,@»¥isoiii".l. Nathan
UNITED STATES DISTRICT JUDGE

